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     ATTORNEYS FOR DEFENDANT
11   THE GEO GROUP, INC.
12                            UNITED STATES DISTRICT COURT
13                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
14   RAUL NOVOA and JAIME                          CASE NO. 5:17-cv-02514-JGB-SHKx
15   CAMPOS FUENTES, individually and
     on behalf of all others similarly situated,   ORDER GRANTING STIPULATION
16                                                 TO MODIFY THE SCHEDULING
            Plaintiff,                             ORDER
17   v.                                            [Filed concurrently with Stipulation and
18                                                 the Declaration of Alex Linhardt]
     THE GEO GROUP, INC.,
19                                                 JUDGE: Hon. Jesus G. Bernal
            Defendant.
20
21   THE GEO GROUP, INC.,                          SAC Filed: December 24, 2018
22                                                 Current Trial Date: August 27, 2019
             Counter-Claimant,                     Proposed Trial Date: February 25, 2020
23   v.
24   RAUL NOVOA, individually and on
25   behalf of all others similarly situated,
                                                   NOTE: CHANGES MADE BY THE COURT
26           Counter-Defendant.

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          ORDER GRANTING STIPULATION TO EXTEND TIME TO RESPOND TO
                       MODIFY THE SCHEDULING ORDER
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           The Court, having considered the parties’ Stipulation to Modify the Scheduling
2
     Order and the Declaration of Alex L. Linhardt, and good cause appearing therefore,
3
     hereby approves the stipulation and orders as follows:
4
           The Scheduling Order is modified as follows:
5
           Expert Disclosure (Initial):                  September 17, 2019
6
           Expert Disclosure (Rebuttal):                 October 1, 2019
7
           All Discovery Cutoff (including
8
           hearing discovery motions):                   October 15, 2019
9
           Last Date to Conduct Settlement
10
           Conference:                                   November 13, 2019
11
           Last Date to Hear Non-Discovery
12
           Motions:                                      January 10, 2020
13
           Final Pretrial Conference & Hearings
14
           on Motions in Limine:                         February 10, 2020 @ 11:00 a.m.
15
           Trial Date:                                   February 25, 2020 @ 9:00 a.m.
16
17
           IT IS SO ORDERED.
18
19   Dated: February 25, 2019                     ____________________________
                                                  _________
                                                          _______ _____________  ___
20                                                      Hon.
                                                         on. Jesus G. Bernal
                                                        Ho            Bernaal
                                                        United
                                                        Un
                                                         nited States District Judge
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       ORDER GRANTING STIPULATION TO EXTEND TIME TO RESPOND TO
                    MODIFY THE SCHEDULING ORDER
                                                  2
